 Case 4:07-cr-40006-JPG          Document 213 Filed 02/06/08              Page 1 of 1      Page ID
                                           #594



                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                   Plaintiff,

         v.                                                  Case No. 07-cv-40006-JPG

 DAMIAN Y. JAMES and ROBERT HARRIS,

                   Defendants.

                                 MEMORANDUM AND ORDER

        This matter comes before the Court on the motion for free copies filed by defendant

Damian Y. James (Doc. 210) and motion for leave to proceed on appeal in forma pauperis filed by

defendant Robert Harris (Doc. 211). James and Harris filed these motions pro se, although they

are represented by counsel. A defendant does not have a right to file his own motions when he is

represented by counsel. See Hayes v. Hawes, 921 F.2d 100, 102 (7th Cir. 1990) (per curiam). The

Court may strike as improper any such pro se motions. See, e.g., United States v. Gwiazdzinski,

141 F.3d 784, 787 (7th Cir. 1998). The Court hereby ORDERS that the motions (Docs. 210 &

211) be STRICKEN and DIRECTS the Clerk of Court to send a copy of this order to the Court of

Appeals. The Court WARNS James and Harris that if they continue to make further pro se filings

while they are represented by counsel, the Court will instruct the Clerk of Court to refuse to accept

them for filing.

IT IS SO ORDERED.
DATED: February 6, 2008

                                               s/ J. Phil Gilbert
                                               J. PHIL GILBERT
                                               DISTRICT JUDGE
